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                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA
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                                                                March 3, 2011



             VIA EMAIL & FIRST CLASS MAIL

             Kori L. Clement, Esq.
             HARE, CLEMENT & DUCK, P.C.
             505 North 20th Street, Suite 1010
             Financial Center
             Birmingham, Alabama 35203

                            Re:   Sharon Robertson v. Brittany Caffee, eta/.
                                  In the Circuit Court of Jefferson County, Bessemer Division
                                  Civil Action No.: CV-2007-633-ERV

                                  Susan Green, eta/. v. Brittany Caffee, et al.
                                  In the Circuit Court of Jefferson County, Bessemer Division
                                  Civil Action No.: CV-07-783-ERV

                                  Tisha Owens, et a/. v. Brittany Caffee, eta/.
                                  In the Circuit Court of Jefferson County, Bessemer Division
                                  Civil Action No.: CV-07-797-ERV

             Dear Kori:

                   I am writing in the above-referenced cases on behalf of Plaintiffs Robertson, Vickery and
             Waldrop.

                     The Defendants' Motions for Summary Judgment have been denied and the court has
             indicated that all issues-including the corporate identity issues-will go to trial.

                     We feel that this case represents a substantial risk of exposure to your clients. All living
             plaintiffs testify that alcohol was illegally purchased by Brittany Caffee from the 141h Street BP. The
             evidence is largely indisputable that Caffee became intoxicated from that alcohol and that the
             automobile crash was a direct result. She was underage. She was not carded. The sale was illegal.

                     The Dram Shop and Civil Damages Statutes are, in essence, strict liability. One that
             dispenses alcohol illegally is liable for the compensatory and punitive damages that result. One of
             the largest verdicts in Jefferson County history arose from a liquor liability action in the Bessemer


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cutoff. In Chambliss v. Applebee's, CV-96-744, a Bessemer jury returned a $13 million judgment
against a bar that served a twenty-year old girl who subsequently died in a single-car crash.

        The present case is similar, and has especially tragic consequences. A thirteen year old boy
was killed. Two other teens were seriously injured. The potential for large multiple verdicts is high.
This would be particularly true if, as the court indicated at our most recent hearing, it tries the cases
separately.

        The case for disrega>·ding the corporate form is especially strong. There is abundant eviJence
that Mr. Sabbah regularly misuses the corporate fiction, regularly commingles assets between various
corporations, and uses whichever corporate entity is more advantageous or more convenient to use
in various circumstances. For instance, the Sabbah Brothers Enterprises, Inc. ("SBE") entity is used
to make all oil and gas purchases for Nineteenth Street. Nineteenth Street, however, claims these
expenses for income tax purposes. SBE claims to own all the shares ofNineteenth Street. For
personal income tax purposes, however, Mr. Sabbah claims that he owns the shares. Money is
regularly moved from one corporation to another. Mr. Sabbah regularly draws cash out of both
corporations. Bills of one corporation are regularly paid by the other. Little accounting appears to
have been done to distinguish between corporations. The evidence is that Mr. Sabbah operates all
of these corporations for his own benefit and he, SBE, and Nineteenth are essentially one and the
same.

        Mr. Sabbah's credibility with respect to these issues is not good. His statements regarding
the various corporate entities are in stark conflict with the documentary evidence obtained from third
patties. His statements are largely contradicted by his bookkeeper's testimony. It is our judgment
he has lost any sympathy of the court.

       We believe that it will be a simple matter for the court to determine that the actions of
Nineteenth Street are the actions of Sabbah and SBE. Any liability of Nineteenth Street will
likewise be a liability of Saboah and SBE. The evidence should cmnpel ti1is result.

      Sabbah and SBE are clearly covered by Nationwide policy number 77PR762940. Any
judgment returned against them would be covered by that policy.

        A strong argument can be made that Nineteenth Street should likewise be covered under that
policy. Clearly, the intent of the parties was to obtain liability coverage for the convenience store
operating at the 600 141h Street location. The declarations page shows coverage for this location.
The certificate of insurance produced by Nationwide to the ABC Board shows coverage for this
location. This policy was renewed several times after Sabbah "acquired" Nineteenth, which appears
to be no later than May 2005. Nineteenth represented to the Alabama Beverage Control Board that
this policy covered alcohol sales at the convenience store. Both SBE and Nineteenth Street made




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premium payments for this policy.

        It is entirely likely that, should an adverse judgment be returned against Nineteenth Street,
that a viable E & 0 claim could be made against Nationwide's captive agent for its role in \vriting
the policy, if it is determined that coverage for Nineteenth was not acquired.

        It frankly appears to us that Sabbah's and SBE's position in this case should be that
Nineteenth Street be afforded coverage under the l41h Street policy. Absent that, Sabbah and SBE
should take the position that, in fact, l'·Jineteenth and SBE arc op;.;rated as a single entity. That way,
coverage for Nineteenth Street would be triggered and Mr. Sabbah's assets would be protected.
Instead, the defense of this action has taken the opposite approach thus far. The separate entities
clearly have diverse and conflicting interests, with respect to coverage issues.

        Plaintiffs are not, of course, privy to any coverage discussions that may have taken place
during the course of this litigation. You have advised that you are not "coverage counsel" and are
not involved in any coverage decision. You have consistently taken the position, however (most
recently at the February 25, 2011, hearing), that Nineteenth Street has no insurance coverage.
Sabbah, Nineteenth, and SBE are all represented by your firm, which regularly represents
Nationwide insureds and is paid for doing so by Nationwide. It appears that the defense posture in
this case has been to take the position that the two insured entities-Sabbah and SBE-have no liability
in the matter, while also taking the position that the entity which sold the alcohol-Nineteenth
Street-has no insurance. Although this might be a favorable result for Nationwide, it is a potentially
disastrous result for Nineteenth-and for Mr. Sabbah.

        It certainly could be argued that this defensive posture violates the enhanced duty of good
faith recognized in L&S Roofing Supply Company v. St. Paul Fire Marine Insurance Company, 521
So.2d 1298, 1303-1304 (Ala. 1987). If so, Nationwide could face substantial exposure in the event
of a verdict.

       Defendants have substantial exposure in this case. Defendants' insurance company has
substantial exposure in the event of a verdict, if they continue to take the position that there is no
coverage for this convenience store. Please accept this demand on behalf of Plaintiffs Robertson,
Vickery and Waldrop, for the sum of $2.75 million dollars to settle all claims. In the event that
Nationwide offers the $1 million dollar liquor liability policy limit available under policy
77PR762940, to settle these claims, plaintiffs will agree to accept the same and to dismiss all claims.

        To be clear, this is an offer to settle within policy limits. Please be sure to convey this offer
to Mr. Sabbah and to advise him accordingly. Obviously, Nationwide's failure to settle within policy
limits when the insured requests such can result in additional excess exposure to Nationwide.




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        With best regards, I remain,

                                       Very truly yours,




                                       Patrick M. Lavet:e

PML!ljf

cc:     Don McKenna, Esq. (Via Email & First-Class Mail)
        Ralph Bohanan, Jr., Esq. (Via Email & First-Class Mail)




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